1207-CV-10639-LAK-AJP ABEUDLMGHTQB SE}W|E[d~D7/18/2008 Pagé 1 Of 18

‘uwtrei) sci§tsr‘i-;s pts'rtucr couRT rst No_; <18»6087
sournr:aw instruct oF uaw Yoiu< Ftt,st) oN; case No.; tn,cv. 10639 amc

WILI,IAM A. (SROSS (`()NSTRU('I'I()N ASS()(`{ATI()NS. lN(_`. Pl;_tintiff{$)»P€{il.iOner(S)

_VS_

AMERI(`AN MANUFA('I`UR{;RS MUTUAL INSURAN(,`E (`()MPANY v
Detendant(s)-Respondent(s)

STATE OF NEW YORK}
COUNTY OF SCHENECTA DY ss.}

11 Mark E. McClosky being duly sworn1 deposes and says that deponent is over the age of eighteen years, is
not a party in this proceeding and resides in New York State.

On JULY l~l. 2008 at 2125 P.M.

mp()nen[ gewed a true C()py t)f' fligm:;:;:f¥:;;z;:;(::;?‘lf? L`UMMALNT.‘*UTI(`EGF (`MF¥,II'.'¢L`¥.. lh`!','ll\rl.D'l ,\L P'RA(‘|'TC`BDF HLL,L‘VYIATE .l'{ Df..`E AHI]I.£'W 1. F¥_L'L F.l.]£l_'l'¥(tJHiL`
bearing index number G_'?»CV~ lOG?)‘Jand date of tiling:

upon I’YRAMID FIRE PROTECTION, INC.

al address: THE SECRETARY OF STATE, 99 WASHINGTON AVENUE

City & St;l{e; ALBANY, NEW YORK 12210

MANNER OF SERVICE}

PERSDNAL
m By delivering to and leaving with personally}
known to the deponent to he the same person mentioned and described in the above proceeding as the person to be served.
jumww,tcemsmv
By delivering and leaving with petsonally}
m at the premises which is recipient‘s actual place of business/usual place of abode. Such person knowing the person to he served
and associated with him/her, and after conversing with him/her, deponent believes him/her to he a suitable age and discretion.
Amnoxrz£o AGHW
By delivering and leaving with} CAROL VOGT
E the agent for service on the person in this proceeding designated under Rule306 BCL
person at the place. date and time above.

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By aflixing a true copy of each to the door of the actual place of husiness, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to bc served, or a person of suitable age and
|:] discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and times:

. Service having been made to such

 

M‘J_T-'..!!£
Deponent completed service by depositing a true copy of each in a postpaid, properly addressed envelope in an official depository

under the exclusive care and custody of the United States Postal Service. The package was labeled "Personal & (`oniidential"

and mailed to the person stated above at address
ij on . The envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the rccipient. The envelope was mailed by first class mail____certihed mail registered mail___retum receipt requested

Deponent further states upon information and belief that said person so served is not in the Military service
of the State of New York or the United States as the tenn is defined in either State o;..Fe eral statutes

D§S§ RIPTI§ lNL deponent describes the person actually served as;

    

 

 

Sex:FElW\LE Race/Skin Color: WHITE Hair (` ior.' ROWN

Approxirnate A ge: 54 years Approximate Hei ght: 5 '4" Appro ima Weight: 125 pounds
()ther:

Subscribed and sworn before me on} JULY f4, 2008

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affidavit numbcr: 3908| 1042

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"' " UNI'TED STATES DIST'R]CF COURT FILE NO.: 93‘6037
SOUTHERN DlSTRICT OF NEW YORK FTLED ON: C`ASE NO.: ()7-(`\/-10639 (LAK)
WILLIAM A. GROSS (`ONSTRUCTK')N ASSO(`lATIONS, !NC. Plz}imiff(.s)~l"elititm€r($)
,\,'S,.

AMER|CAN MANUPACI`{!RERS MU'I'UAL INSURAN(`E (`OMFANY y
Deiendant(s}-Respondent(s)

STATE OF NEW YORK}
COUNTY OF SCHENECFADY ss.}

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On mm 14_ 2003 ’ al 2:25 P.M.
DEPOHCH[ SCI'V€‘d 21 Il'l.l{$ CUpy Of F'M£:S;‘a€::hmw-Puwrmmmr,nmnorc'cwrmm~r_mmvtm~u.n».<*m:ssormcxswrtrt; none mount mcl.t:_t:r:rno~n~
bearin index number U`F-CV~IO639and date of lilin :
g ,, g
11an BEAUBOIS CANADA, INC;
at deI'CSSI THE SECRETARY (]F STATE, 99 WASHINGTON AVENUE

C.ily & State; ALBANY, NEW YORK 12210

MANNER OF SERVlCE}
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m By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served.
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By delivering and leaving with personally}
i:l at the premises which is recipient's actual place of business/usual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion.
Avmomzm AG§~_T_
By delivering and leaving with} CAROL VOG’I'
E the agent for service on the person in this proceeding designated under Rule306 BCL . Service having been made to such
person at the place, date and time above.

marc m Doon, L.
By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.
Deponent was unable with due diligence to find the proper or authorized person to be served, or a person of suitable age and
m discretion at the actual place of business. dwelling place or usual place of abode stated above after having called there on the
following dates and times:

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I)eponent completed service by depositing a true copy of each in a postpaid, properly addressed envelope in an ofhcial depository

under the exclusive care and custody of the limited States Postal Service. The package was labeled "Persona| & Coniidentiai"

and mailed to the person stated above at address
m on . T he envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient The envelope was mailed by___first class mail certified mail __registered mail_____retum receipt requested

Deponent further states upon information and belief that said person so served is not in the Military service
of the State of New York or the United States as the term is defined in either State or Feder'al statutes

DES§ §RIE! IQNL deponent describes the person actually served as:
Sex:FEMALE Race/Skin Color: WHITE

Approxirnate Age: 54 years Approximate Height:$’~'l”
Other:

inscribed and sworn before me on} JULY 14, 2008

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alien c aaa wisconsin mem A Rmt..»yiectony Mark E McClosky
way alarm sara ar any von commissioner crown Deponent

warned m schenectady carney watson m schenectady county $:'c;;;yr:“f€°mdum

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Brooklyn_ New York l ll{ll
affidavit number 2008!1040

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' ‘ ' asei;o7-ov-10639-LAK-AJP Aamumama'ssi:ifilado07/18/2008 F’aQe3Of18

.` C
UNETBD STATES DIS'l`R,lCT COURT F|LE N()'_- 08¢6()87
SOUTHERN DISTRICT OF NEW YORK FIl-ED ON.' CASE NO,; 07~(7.`\/'|0639(1./\!()

WlLLlAM A. G ROSS ("ONS'I`RU(T|()N ASS()(`IA'!`I{)NS, INC. Piainliff(S}~PC[iIiOrl€rt'S)

-ch.

AMERICAN MANLIFA(H`llRERS MUTUAL INSURANC`E (`OMFANY
Defendant(s)~Respondent(s)

STATE oF New YORK}
CoUN'rY or sCHENEcTAoY oo_}

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On JULY l4.2008 al 2.‘25 PAM.

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bearing index numberl 07¢(_"§/- 1063de date of tiling:

upon RAFAEL VINOLY ARCHITECTS, P.C.

at addregs; '!`HE SECRETARY OF STATE, 99 WASH!NGTON AVENUE

City & State; ALBANY, NEW YORK I2210

MANNER OF SERVICE}
P£ISON£
|:l By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served.

SmTABLEAGEPBON
By delivering and leaving with personally}
m at the premises which is recipient’s actual place of business/usual place of abode. Such person knowing the person to be served
and associated with himfher, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion
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By delivering and leaving with} CAROL VOGT
E the agent for service on the person in this proceeding designated under Rule306 BCL . Service having been made to such
person at the place, date and time above.

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By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to be served, or a person ot` suitable age and
m discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and times:

 

 

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Deponent completed service by depositing a true copy of each in a postpaid, properly addressed envelope in an ofhcial depository

under the exclusive care and custody of the United States Postal Service. The package was labeled "Personal & Conlidential"

and mailed to the person stated above at address
m on , 'l”he envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient 'Fhe envelope was mailed by tirst class mail___§ertitied mail _____registered mail______retum receipt requested

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of the State of New Yorlt or the United States as the tenn is defined in either State or Federal statutes

Di_:¢§` QRIPTION} deponent describes the person actually served as;
Sex:FEMALE Race/Skin Coior: WHITE

Appro)tirnate Age: 54 years Appro)tirnate lleight;5`4"
Other:

 

 

511 ‘ribed and sworn before me on} JULY 14. 2008

 

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Brooltfyn. Ncw Ycrit l 1201
affidavit number: 2908| 1037

Fll=lM FlLE #NYCOB457Q

 

~ - ¢ ease 1 :07`-cv-10639-LAK-AJP Asromentotasenliile€sO7/18/2008 PaQe 4 Of 18
UNITED _',TATES [)|STRICT COUR'!` F]L[~; NO_; 03-6087
S®UTHIRN DISTRIC“I` OF NEW YORK FILED ON: CASE NO_; 07-(?\/410639(1AK)
Wn.i.t/\M A. oRoss t“oNsTRt_it*rioN AssoctA'rioNs\ th‘. Ptaintitf(s}-Petitionerts)
-VS_

AMER{(`AN MANUFA('I`URERS Mll'l`l lAL lNSl?RANCE (`()MPANY _
Det"endant(s)¢Respondentt s )

S'i"ATE OF NEW YORK}
COUNTY OF SCHENECTADY sst}

I, Mark E. McClosky being duly sworn, deposes and says that deponent is over the age of eighteen years. is
not a party in this proceeding and resides in New Yorlt State.

On le,Y l-l, 2008 at 2125 P.M.

Deponen{ SeWed a true Copy of g::;r”::£:lf:;::m&mnlrv com‘i.»u.~rr, ~cmc£ or crmn-Je~tt.'. tsorvtt)rat rust“rtc'rnor u¢r;is'nurt inner normal rome t:t£cr\o.*vt<.'
bearing index number W~§V' |0§39and date of filing:

upon BOVIS LENI) LEASE LMB, INC.

at address; THE SECRETARY OF STATE, 99 WASH|NGTON AVENUE

City & Stat;e; ALBANY, NEW YORK 12210

MANNER OF SERVICE§

Prxso~,u.
By delivering to and leaving with personal|y}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served
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By delivering and leaving with personally}
ij at the premises which is rccipient‘s actual place of business/usual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretionl
Amontzen AG£NT .
By delivering and leaving with} CAROL VOGT
E the agent for service on the person in this proceeding designated under Rule306 BCL
person at the place, date and time above.

lime m noon Erc.
By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to be served, or a person of suitable age and
|:l discretion al the actual place of business, dwelling place or usual place of abode stated above after having called there on'the
following dates and times:
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. Service having been made to such

 

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under the exclusive care and custody of the United States Postal Service. The package was labeled "Pcrsonal & Confidential"

and mailed to the person stated above at address
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of the State of New Yorl< or the United States as the term is delined in either State or Federal statutes

D§ §`EIPYIQNE deponent describes the person actually served as:

Sex;FEMALE Race/Sltin Color: WHITE l-lajr Colo ' ROWN
Approximate Age: 54 years Approximate Height:5`4" Approxi Weight: 125 pounds
Other:

 

?l:t:rtbed\and sworn before me on} JULY l4. 2008 ;_\

 

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navy anna saw ar sav mt commist sr needs A l f _ Deponent

criminal in summary comity owned m alimony county “::‘;1:;3’ A" Lf;r dam

Cm'nrnissmn Exp-ires |t}i'tHfJFKH Cnmmtssi<m lixpires‘ 08;??4-2‘004 §50 lay gullett _ Eiéh{h moot

Hrooklyrl, New York l 1301
affidavit numbcr: 2008|1038

FlHM FlLE #NYCGH4580

- , Case 1:07-cv-i 0639-LAK-AJP AF]ctauittvarl‘tstEiH|R@hW/l 8/2003 F’aQe 5 Of 13
L)N:TED states bisi‘RiCr couRT Pth No_; 08¢6037
souTnERN bisTRiCr oF NEW voai< Fn..at) oN; cAsE No.; ovtcv. mass onto

Wll_l,IAM A. GROSS C`()NS'!'RUCT|(]N ASS()(`!ATIONS, IN(`. Pltlinl;ii'f(_sl»P€lilitmer($}

-VS_

AMER!CAN MANUFACTUR}£RS MUYUAL INSURAN(`E (`OMPANY
Defendant(s)~Respondent(s)

STATE OF NEW YORK}
COUNTY OF SCHENECTADY ss.}

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Ol‘l JULY 14,2{){)3 31 2125 P_M.

D€pOi"l€Ilf SC!'\'€d il true Ct)py of :‘*;“HN':;::;:‘[:;T*T~ *W~FMTV f`rmrwwr.~mtcton'mrut;~cn t.vnivlmui. warranties ammuer inner mullen ;, mg surname
bearing index number U?-CV- 10_§39.1nd date of Eiing:

upon TRACTEL, INC.

F:l[ Ele(.iI`CSSj THE SECRETARY OF STATE, 99 WASHINGTON AVENUE

City & State: ALBANY, NEW YORK 12210

MANNER OF SERVFCEL
Pznsoiwl
[:] By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served,
Svmtst£ AGE P£Rstw
By delivering and leaving with personally}
m at the premises which is recipient's actual place of bnsinessfusual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion
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By delivering and leaving with} CAROL VOGT
§ the agent for service on the person in this proceeding designated under Rule306 BCL . Service having been made to such
person at the place, date and time above.

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By afoing a true copy of each to the door of the actual place of business, dwelling place or usual place ot` abode stated above.
Deponent was unable with due diligence to lind the proper or authorized person to be served, or a person of suitable age and

|:I discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the
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DE§§§B|PTIONL deponent describes the person actually served asc
Se)t:WiMAl/E Race/Skin Color"_ WHITE l-iair Color: BROWN

Approxirnate Age: 54 years Approxirnate Height:5’4” Approximate Weight: I25 pounds

Other; f

S7bscn`bed and sworn before me on} JULY l-l. 2008

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Brooitlyn, New lt’orli l lJCl|
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FlFlM FILE #NYCOEMBBi

' ° ease 1 :07-cv-10639-LAK-AJP Aaqm@mt(§a$,;g‘illeq=p7/18/2008 Page 6 Of 18
' UNlTED STATES DISTRICI` _(,`OURT FlLE NO.: 03-5187
SOUTHERN DlSTRiCT OF NEW YORK FlLED ON: CASE NO.; OV¢C‘V- t0639 {LAK)

Wll-l_lAM A. (JROSS (`()NS'I`RUCTION ASSU(`IAT!ONS, IN(`. Plillnllf'f($)¢P€[ilitmcr(S`}

JVS_

AMERIC`AN MANUFA(."¥`URERS Mll`i‘UAl_ lNSURAN(`E (`()MPANY g
Detendant(s)-Respondent(s)

STATE OF NEW YORK}
COUNTY OF SCHENEC'!`ADY ss.}

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On .IULY l-l, 2008 at 2125 P.M.

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bearing index number UV¢CV‘|U<§~?‘}and date of filing:

upon snctos convention

at address THE SECRETARY OF STATE, 99 WASHINGTON AVENUE

Ci[y & Slzlle: ALBANY,. NEW YORK 12210

MANNER OF SERVICEL
PERSQNAL
|:} By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served
wirth date P£Rsaiv
By delivering and leaving with personally}
m at the premises which is recipient`s actual place ot` business/usual place ol` abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion.

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By delivering and leaving with} CAROL V(}GT

E the agent for service on the person in this proceeding designated under Rule306 BCL . Service having been made to such
person at the place, date and time above.

 

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By ai`tixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.
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Sex;FEMALE Racc/Sl<in Color: WHITE Hair C or: ROWN
Approxirnate Age: 54 years Appro)timate Height:5'4" Appro. irn te Weight; 125 pounds
Other: ,

bscribed and sworn before me on} IULY |4. 2008

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affidavit number 20081 1044

FlRM FILE #NYCGBdBSZ

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FILE NO.: 93~(>937

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UNi/fEf‘) STATES DIS'I`RICT C`OURT
SOUTHERN DlSTRlCl` OF NEW YORK FILED ONI CASE NO,; ll‘?‘L_`V~ 10639 tl.AK)
WIl_LlAM A. (SROSS C()NS'l`Rl iUl`lON ASS()(`IA'I`lONS, lNC. Plaintil`f{s)`Petitit)ncr(S)

JVS“

AMI':`RI(`AN MANUFA('l`l?RI';`RS Mll'fllAL INSURANC`E (`()MPANY _
l_)cfendant(s)»Respondent(s)

ST`A'[`E OF NEW YORK}
COUNTY OF SCHENECTAIJY ss.}

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not a party in this proceeding and resides in New York State.

Ot} .l{ii_,Y 14,20()3 ;}1 2525 P.M.

Deponent served a true copy of Fl;“$~':§.§§§';§§g"§:£l§,“gm""M“`“""
bearing index number: U7¢C`V-10639and date of tiling:

upon DIERKS HEATING COMP)\NY, INC.

at addregsj THE SECRETARY OF STATE, 99 WASHINGTON AVENUE

City & Sl£tte: ALBANY, NEW YORK 122l0

MANNER OF SERVICE};
PEJUoNM
|:] By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served.
SUHABL£ AGE PER$QN
By delivering and leaving with personally}
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person at the place, date and time above.

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|:] discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and times:

U]’ll'l? O{»` \'_UNFE.I[N("F._ |."¢DIHDI'AL "AC'H(`I‘_*¥ OF \»\At'_\ L"\TR»U`£ JE‘DCF, A~'¢DR£W J. PEK`K. £!.Et'!'it\'¢l(`

. Service having been made to such

 

mixing
Deponent completed service by depositing a true copy of each iri a postpaid. properly addressed envelope in an official depository

under the exclusive care and custody of the United States Postal Service. The package was labeled "l’ersonal & (‘ontidential"

and mailed to the person stated above at address
i:i on . The envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient. The envelope was mailed by____li rst class mail certified mail registered mail____return receipt requestedl

Deponent further states upon information and belief that said person so served is not in the Military service
of the State of New York or the United States as the term is defined in either State or Federal statutes

D§ §§RIPTIONL deponent describes the person actually served as:
Sex:FEMAl.E Raee/Skin Color: WHITE Hair C or BROWN

Approxirnate Age: 54 years Approxitnate Height:$'~l" Appro i te Weight: 125 pounds
Other:

 

 

?ubscribed and swom before me on} ll)’l,Y l~l, 2008

l_`

 

adam c aunt tciiaiitnsszii stantqu Rt>o-Mecimky Mark E. McClosl<y
Nota.ry Puhlic‘ St:te of New Yorit C`ommiss)oner of Deeds D€p()l'l€l][

t_h.ialit‘ied m Sehmcetady Cnunry Qua.tihcd in Sehcdneetady C`eunry G::I:;";“(n;mom

{`omrmss:on E\ptres thEl‘-J/I(ltl‘? Cornmisslon l:`xpires llS/??Ctltlll 550 lay gmc _ Hé:hlh Hm)r

[‘lrooldynA l\levv Yorit l IZ(ll
affidavit number: 200811045

FlHM F|LE #NYCOB¢SBE

l ’- ease 1 §07-cv-10639-LAK-AJP appointment as seit?itadaJY/t 8/2008 PaQ€ 8 Of 18
UNrrisD states Dis'rRiCt‘ Cot.'RT plug NO`; t)s_a)s~)
SOUTHERN DlSTRlCT OF NEW YORK l:ll_l:,l) ONf CASE NO__` 07'(`\/¢!(}639(1.,4!'(}

Wll-l(lAM A. (iR{)SS ('_`()NS'l`RU(“TlUN ASS()(`IA*H()NS_ IN(`. Plainliff(s)-Petillttnerlsl

_Vsa

AMliRl(`AN MAN{FI-`A('l`llRl-fl{$ MU'I`UAL INSURAN(`I:` (`()|VEPANY `
Delendant(s)- Respondent(s}

STA/I`E OF NEW Y()RK}
COUNTY OF SCHENECTADY ss.}

l, Mark E. McClosky being duly sworn, deposes and says that deponent is over the age of eighteen years, is
not a party in this proceeding and resides in New Yorlc State.

011 }llLY l~l», 2008 al 2525 P.M.

Depi)f'l€l`l{ S€FVCCl 3 U'U€ COpy Qf ::;’f‘g:;::l$:gl.::::’:m;nm\ tounai.s-T. some or maritime :.-‘t)ivn:n ‘z_ running i,g“,-mg“¢_,{ ,,.GE many 14 nix M“O“[.
bearing index number UT“C`V¢IO€_G‘?and date of tiling:

UpO[] SMl-OWEN STEEL COMPANY, INC.

31 addFCSSj THE SECRETARY OF STATE, 99 wASHINGTON AVENUE

City & state ALBANY, saw voaK 12210

MANNER OF SERV|CE}
PERSoNAl
|:] By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in tlte above proceeding as the person to be served.
SUITABLE stats P£n_soN
By delivering and leaving with personally}
l:l at the premises which is recipient’s actual place of business!usual place oi` abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him!her, deponent believes him/her to he a suitable age and discretion.
i»tUnrath£oAGr-:Nr
By delivering and leaving with} CAROL VOG'I`
E] the agent for service on the person in this proceeding designated under Rule.i()G BCL . Service having been made to such
person at the place. date and time above

Anmm; m Dao)r En".
By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above

Deponent was unable with due diligence to find the proper or authorized person to be served, or a person ol` suitable age and
l:| discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and times:

 

MILING

 

Deponent completed service by depositing a true copy ot` each in a postpaid, properly addressed envelope in an ot`hcial depository
under the exclusive care and custody of the United States Postal Service. 'l`he package was labeled "F'ersonal dc C`ont"idcntial"

and mailed to the person stated above at address
l:| on . The envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient. The envelope was mailed by first class mail certified mail registered mail return receipt requested

Deponent further states upon information and belief that said person so served is not in the Military service
of the State of New York or the United States as the term is delined in either State or Fe statutes

D§ CRlPTlOD_l f deponent describes the person actually served as:

  
   

 

 

Sex:FEMALE Race/Skin Color: WHITE Hair Co|o . B OWN
Approxirnate Age: 54 years Approxirnate Height: 5`4" Approxi t Weight: 125 pounds
Otlier:
[S£:r:ed and sworn before me on} JtlI,Y 14.2008
sam re stack nuisaan.ss:i.t italian a alternatively Mark E. McClosl-ty
Not.ary Publzc, State of`Ncw Yorlc C`ommisszoner oFl)etda DEPOH€HI
{. ` ` s t 4 Attomry infoc
Jualil'icd in Schcncctady Cmmry t)u.alified in Sehcdnectady Louni_\ l ‘
Michacl A¢ ( ardoin

f_`omrmssion F.vpires lilt‘]‘)rl’t)t)‘l L`ornm:ssioo l~.\'prres flS"Z?~‘l'Ut)d 350 lay S“,Cd _ Eigh{h F}Om
smitty-ns N.:w Y(,`ri\- t 1201

affidavit number 2008¥ 1047

FlRM FlLE #NYCUB¢$ESd

ease 1 :07-cv-10639-LAK-AJP timinde sedimast 8/2008 PaQe 9 Ol 18

r~ . ¢L

 

rUl"‘ll'l`ED STATES DlS'l`RlCT C`OURT FILE NO.; 08_6087
SOUTHERN DlSTRICT OF l'_\’EW YORK FlLF.D ON: CASE NO.: U7-(_`V-ll}639 (I.AK)
Wll,l)lAM A. GR()SS (`()NS)]'RU('}`ION ASS(}(`!ATI()NS. lNC. piniftlil`l.(§)~P€li[i(ln€l'($)

-vs¢~

AMI~_`RI(`AN MANlll-`AC"|`URHRS MUI`I FAI_ INSURAN(`E C()MI’ANY
Dei'endant(s)-Respondent{s}

srA'rE or NEW vont<}
coui\rrv oF scHENECrA oY ss_}

l. Mark E. McClosky being duly sworn, deposes and says that deponent is over the age of eighteen years, is
not a party in this proceeding and resides in New York State.

On JULY l-l,ZDOE at 2125 P.M.

I:)el:)(:,n(:r]t S€rved a [me Copy Of §*;M}l::“l::&:;;l;:;;\r(:.{€lr:;;!u?¥ {'{WH,AM.NOTK`E Gl' \',T$?!'$'Y,Xm(f. INDIV¥DC`A.L Flh{'fl('E£O¥ M.\U|FI'RA'['£ ll DIGE A‘\DN_£W J_ F£.('K` EL£{_'TI£'JN!L
bearing index number W'C'Y-I%39tind date of iiling:

upon ASPRO MECHANlCAL CONTRACTING, INC.

at address; THE SECRE'I`ARY OF STATE, 99 WASHINGTON AVENUE

City & State; ALBANY,NEW YORK 122 {0

MANNER OF SERVICE}
P£R.soNAt
|j By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served
St)mtata ,4¢;1" Pmon
By delivering and leaving with personally}
i:] at the premises which is recipient`s actual place of business/usual place of abode, Stich person knowing the person to he served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion
Amnomz£n AGEVT
By delivering and leaving with} CAROL VOGT
§ the agent l`or service on the person in this proceeding designated unde
person at the place, date and time above.

AHmNG m linen Err.
By affixing a true copy of each to the door of the actual place of husiness, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to be served. or a person of suitable age and
E discretion at the actual place of business dwelling place or usual place ol` abode stated above after having called there on the

following dates and times:

r Ruie 306 BCL . Service having been made to such

 

MMG

 

Dcponent completed service by depositing a true copy of each in a postpajd. properly addressed envelope in an ofhcial depository
under the exclusive care and custody of the United States Postal Service. The package was labeled “Personai & (Tonfidentiai"

and mailed to the person stated above at address
m on . The envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient The envelope was mailed by_hrst class mail _____eertined mail _“_registered mail_return receipt requested

Deponent further states upon information and belief that said person so served is not in the Military service
of the State of New York or the United States as the term is defined in either State or Federal statutes

DS §;RIPTIONL deponent describes the person actually served as:

     

 

 

Sex:FEMALE Race/Skin Co|or: WHITE Hair Coi a ‘ UWN

Approximate Age: 54 years Approximate lleight; 5'4“ Approx` ' Weight: 125 pounds

Othen

S?Nbed\and sworn before me on}- lliLY t-i. 2008 "`
sam r; asst statements alarm A Ro¢k-Mcciuay Mari< E. McClosky

Notary Publlc, State of New Yorlt commissioner of Dccds DEpOIlCI`|[

t - , . Al’lomcy lnl'o;

)nah{icd m Schcncctady {`m.mty (_)azlxi“icd in behavich Cnm-ny M,L_haef A Cardom

Commission fixtures IG.'G‘);EU(Y? L`ummisslnn E¢pires lllir??»'l‘t'l(ld 1550 lay fin-tci , Ei'ghth Hom_

Brookiyn. New York l llDl
affidavit number: 2903| 1046

FlFlM FlLE #NYCQB»¢SBS

' Case 1:07-cv-10639-LAK-AJP ADDDDIM‘IE&$`SEHQ@}§W/U/ZO% ` Page 10 of 18
FILE No_; assess

 

UNlTED sTATEs otsTRiCr COURT
S'OUTF?€.RN DlSTRlCi` OF NEW YORK FILED ON: CASE NO.; 07-(`\/-10639 tIAK)
wlI-LIAM A. tittoss CoNs't‘nt»'CT!oN Assot‘lA't'loNs, tNC. Pt;iimit`t`(s)-Peritioncr(s)
_\./S..
A.MER!{_"AN MANUFACFURERS Mttt‘oAI- INSURANCE t"oMPANY
Defend;mt(s)~Respondent(s)

 

S'I`ATE OF NEW YORK}
COUNTY ()F SCHENECFA DY ss.}

l. Mari\t E. McClosky being duly sworn, deposes and says that deponent is over the age of eighteen years, is
not a party in this proceeding and resides in New York State.

()n .llll-Y l~i, 2008 at 2:25 PtM.

Deponen[ Se rved a true Copy of arrme ;L:‘_I;;L‘A[Cl’ml(:x;ul;r,;rmw court_.\m‘r, so'l'tc't: 01 rot#n:l$;‘\¢'& L\tbtviDt\AL nnt'rt<u or HAL;BTRA rt name As‘osu-:w 1. FECK.. E:t,r,r‘r‘ttz)~t<'
bearing index number (F-C'_v'- IU€§39and date of tiling:

upon MATERIALS TESTING LAB, INC.

at address; THE SECRETARY OF STATE, 99 WASHINGTON AVENUE

City & State: AI.BANY, NEW YORK 12210

M§NNER OF SERVECE§

P£n.snm.t
By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served

SUmtnt£ AGE PmsgN
By delivering and leaving with personally}
i:i at the premises which is recipient`s actual place of business/usual place ofabode. Such person knowing the person to be served
and associated with him!her, and after conversing with him/her, deponent believes himfher to be a suitable age and discretion.
/lmnonrz£v AGEM'
By delivering and leaving with} CAROL VOGT
E the agent for service on the person in this proceeding designated under Rule 306 B(.`L . Service having been made to such

person at the place, date and time above.
ArrmN.-; 19 Dooit, Err.
By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to be served, or a person of suitable age and
[:l discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and times:
MAtuNt;

 

Deponent completed service by depositing a true copy of each in a postpaid. properly addressed envelope in an official depository
under the esciusive care and custody of the United States Postal Service. The package was fabeled “Personal & Contidential"

and mailed to the person stated above at address
i::i on . "l'he envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient. 'I`he envelope was mailed by___lirst class majl_____certilied mail registered mail_return receipt requested

Deponent further states upon information and belief that said person so served is not in the Miiitary service
of the State of New York or the United States as the term is defined in either St;ate or Fedetal statutes

D§§CR§FPI§ ZN f deponent describes the person actually served as:
Sex:FEMALE Race/Skin Color: WHITE Hajr Coi . B OWN

Appro)tirnate Age: 54 years Approxirnate Height:5`4" Approx' at Weight;lZ§ pounds
Othert

    

 

Srbscri bed and sworn before me on} JULY l4, 2008

 

i<?r'm £ stack voiRor»i>¢szis hamm A` Rnct~.wt"iody ark E. McClosky
Nma.ry Public` Snite nt` Ncw \"r)rk t'_`ummissioncr of Decds DCpOH€Hf

manson m schmwady county outlined m sta¢dn¢¢rady county G::;r:;¥):";°afdom

Comm¢ssr`ori Ev.psres_ ltH)‘J/?Dt)‘? C`i_mimmsmn Erptres tiBfZ?/'Z€XM 3501“¥ Sm_c`t g Eigh{h moot

Bmoklyn. New Y<vric i 1201
afEdavit number: 2008|1051

FIRM FILE INYCOBASBB

' \ case1:07-cv-10639-LAK-AL1P Apvcomentesssiitl@ei§>7/18/2008 F’aQ€ 11`Of18

lllNl'l`~El_) S"l`r’tTES DlSTRlCT COURT F]LE N()_; 08¢6{)87
SOUTHERN DISTRICT OF NEW YORK FlLED ON: CASE NO.; l)'!¢(r`V~ l0639 (I.Al()

Wllcl-lAM A. GRUSS C()NS'l'l{U(,'l`lON ASS()(`lA'l'lONS, lNC. Plain[il"l`($)~P€titioner(§)

_VS..

AMERl(`AN MANUFA(_TURERS MUTUAI- INSURANC`E COMPANY
Defendant(s)-Respondentls)

STATE OF NEW `(ORK}
COUNTY OF SCHENECI"ADY ss.}

l, Mark E. McClosky being duly sworn, deposes and says that deponent is over the age of eighteen years, is
not a party in this proceeding and resides in New Yorlc State,

On JULY l-l, 2003 at 2:25 P.M.

Dep(ment SCI.V€d a true {_.Opy Uf z_l;;"g:~l::lflt;srl;:;::lr;xrmn conn,u.~rr.~mKIoro)Hrmn-\ce.inm\r.m'.o,n.\t~rttuorimmigrantit'uce meant l.rt;r‘tc aleman-vic
bearing index number: U’?-CV-10639and date of filing:

upon A. WILL!AMS TRUCKING & BACKHOE TRENCHING, lNC.

at address; THE SECRETARY OF STATE, 99 WASH!NGTON AVENUE

Ciry & state ALBANY, uaw vont< 12210

MANNER OF SERVICEL
PERSoNA.t
m By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served
SUHABLEAGEPEESON
By delivering and leaving with personally}
m at the premises which is recipient`s actual place of business/usual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion
At,"nruxtz£o Ac;m
By delivering and leaving with} CAROL VOG'I`
E the agent for service on the person in this proceeding designated under Rule 306 BCL
person at the place. date and time above.

inmate m Doon Erc.
By aftixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to lind the proper or authorized person to be served, or a person of suitable age and
m discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and limes:

. Service having been made to such

 

maine
Deponent completed service by depositing a true copy of each in a postpaid, properly addressed envelope in an official depository
under the exclusive care and custody of the United States Postal Service. The package was labeled "Persona| & Confidential"

and mailed to the person stated above at address
|:i on . 'I`he envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient. The envelope was mailed by___lirst class mail__certifted mail __registered mail_return receipt requested

Deponent further states upon information and belief that said person so served is not in the l'vlilitary service
of the State of New Yorl-t or the United States as the term is defined in either State or Federal statutes

[2§§CRIPTIONl deponent describes the person actually served as:

 

 

 

Sex: FEMALE Race/Sltin Color: WH|TE Hair Cofor: BROWN

Appro)timate Age: 54 years Approximate Height: 5 `4" Approxi at Wei ght: 125 pounds
Other:

7\Z~t.n/bedand sworn before me on} JULY 14. 2008

iam s noel immunized Kahr;m n atmt.iutcinury ark E_ l'vlcClosl<y

Notary Pulihc, S!atc of Ncw ‘t'orit (`ommisstoner of Deeds DClelCl'lf
( , ` _ , t ‘ , . Attomry lnfo:

)ualifted in Schenettady Cuunty €,l*ualified rn beheth Caunty wichad § card m

` ' t ~ c 4 l t » , , § . l
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smiths N¢w vast iran
affidavit number 200311052

l'-`lFlM FILE iNYCOBASS?

 

- . case 1 :07-cv-10639-LAK-AJP mammals seiEtIQQlM/t 8/2008 F’aQe 12 Ol 18
UNITED STA)I`ES DISTRICT COURT FlLE NO.; €)lS-()l)S’/'
SOUTHERN DISTRICT OF NEW YORK Fli_.l§D UNZ CASE NO.Z ()7~(`\/-1{)639 (LAK}
Wll_l,lAM A. (iR()SS (`()NS'{`RU('T!ON ASSU(`IA'I`IUNS. IN(`. Pl;tll`l[il`flS}*P€tllltmti|'l$)
_\'S-

AMI*§RI(`AN MANUFACVI`UR}ERS MliTU/-\l, lNSURAN(`E (`OMPANY
Defendant(s)- Rcspondentt s)

STATE OF NEW YORK}
C`OUNTY ()F SCHENECTADY ss.}

I. Mark E, McCloslty being duly sworn, deposes and says that deponent is over the age of eighteen years. is
not a party in this proceeding and resides in New York State.

On Jutv 14. 2003 m 2;25 P\M. _
Deponent served a true copy Of §~`ll'.;“§i§~'f'§t§j§".‘.§;r“§~`t;r;':§m"m"m“""‘ `°“m” ‘°"“’M""°'"”"“ ”“*‘""‘“°"`“*"'“'*““““ ""“*""-"»“‘-*m“"““
bearing index numbcr: U7eCV-10639and date of tillng:

upon HUGH O°KANE ELEC'I`RIC CO., L,L.C.

al uddress: THE SECRETARY OF STATE, 99 WASHINGTON AVENUE

Cily & S[ttte: ALBANY, NEW YORK 122}0

MANNER OF SERVICE};

Pm$on'u
m By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served.
SQmwt£ AGE P£Rsa~
By delivering and leaving with personally}
l:l at the premises which is recipient’s actual place of business/usual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with hintfher, deponent believes him/her to be a suitable age and discretion.
A mcallen AG£W
By delivering and leaving with} CAROL VOGT
E the agent for service on the person in this proceeding designated under Rttie 303 LLC . Service having been made to such
person at the pface. date and time above.

.»trrm'NG m Doolt' En_".
By affixing a true copy of each to the door of the actual place ot` business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to be served, or a person of suitable age and
discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and times:

 

mathis
Deponent completed service by depositing a true copy of each in a postpaid. properly addressed envelope in an ofticia| depository
under the exclusive care and custody of the United States Postal Service. The package was labeled "Personal &. (`onhdential"

and mailed to the person stated above at address
ij on . The envelope did not indicate on the outside that the communication was front an attorney or concerned an action

against the recipient. The envelope was mailed by first class mail certitied mail registered mail return receipt requested

Deponent further states upon information and belief that said person so served is not in the Militaiy service
of the State of New York or the United States as the term is defined in either State or Federal statutes

[)E§CRIPTION§ deponent describes the person actually served as:

    
 

 

  

 

Sex:l~l£MALE Race/Sltin Color: WHITE Hair Color' OWN

Approxirnate Age: 54 years Approximate Height:5`4" Approxi ' pounds

Other:

§]Ti:c;da_nd sworn before me on} JULY t4. 2008 ”
itme tract easements i<autr_t,-EA asck-M¢ctasty Marl~; E. McClosky

mary estate stare since van t‘.»mmi,_ean¢mrn¢¢as 7 Deponent

Otta]it'ied m Schcn¢i:tndy County Qti:\ltt'icd in S-chednectady Ct)unty G;:;;”cl"':n(f:`rdwo

C\)mrnissatm E)tpires iU)UQfJC'G‘? Commtsstnrt Exptres llE/'IT-"EEXi-d "HU ix §"'n_la, Hémh Hoor

Brt)olti_vn. N'ew York l il{)l
afridavit number 200811053

FIHM PILE ¢NYCGB-JSBB

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*~ ' ’- ease1:07-cv-10639-LAK-AJP iteawm’ité)$~sni’c'il¢d@7/18/ZOO8 Pagel3 Of18

UNIT[;`D STATES DlSTRlCT COURT FlLE N()_; ()8-(108?’
S()UTHERN DISTRI(','T OF NEW YORK FlLED ON: CASE NO_: (l7-(`V~ 10639 tlAK)

Wll.l.lAM A. (iR()SS (`ONSTRU(`I'I()N ASSO("|ATE()NS, ll‘~l(`v Plain[if`fts)-Pe[iti()n@r(s)

-VS_

AMERI('AN MANUFA('[`URERS Mll'l`UAIl lN.‘\`URAN(`li (§`()MPlANY
Defendant(sl~Respondent(s}

STATE ()F NEW YORK}
COUNTY OF SCHENHCI`ADY ss.}

l, Mark E. McClosky being duly sworn, deposes and says that deponent is over the age of eighteen years, is
not a party in this proceeding and resides in New York State.

011 .llil_.Y l~l, 2908 al 2225 P.M.

Dep()ll[,‘]'l[ SCYV€d 21 {l'UE C()py L]f :l;;‘:$::: ;;::;L‘*!U:(F_:_::HRT¥counur<r.\~cmc£oi= t‘o'~zutt;w'r,, montana nnc'rt\'t=.sut uitctsrlu§;n‘bc.r. woman J_ pick £,_r_[_vm‘}_."f
bearing index number. O7~CV-10639and date of tiling:

upon FIVE STAR ELECTR{C CORFORATION

at addrcggj THE SECRETARY ()F STATE, 99 WASHINGTON AVENUE

City & State: ALBANY, NEW YORK Z2210

MANNER OF SERVICE{
}’£RSDNAL
|:] By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served.
SUHABL£ ncr PER$GN
By delivering and leaving with personally}
l:l at the premises which is recipient’s actual place of business/usual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretion
AUTHQRIZH) AM
By delivering and leaving with} CAROL VOGT
§ the agent for service on the person in this proceeding designated under Rule306 B(Tl.
person at the place. date and time above.

,u'mnNG m vaca fm
By afll)ting a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to lind the proper or authorized person to be servcd, or a person of suitable age and
[:| discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and times:

. Service having been made to such

 

flMLNG

 

Deponent completed service by depositing a true copy of each in a postpaid. properly addressed envelope in an ofhcial depository
under the exclusive care and custody of the United States Postal Service. The package was labeled “Pcrsonal & Conlidential"

and mailed to the person stated above at address
m on . The envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient The envelope was mailed by___first class mail certified mail __registered mail_return receipt requested

Deponent farther states upon infonnation and belief that said person so served is not in the Military service
of the State of New York or the United States as the term is defined in either State or Federal statutes

D§§` CRIFFl`lONf deponent describes the person actually served as:
Se)t:FEMALE Race/Sl-tin Color: WHITE

Appro)timate Age: 54 years Approxirnate Height:5`4"
Other:

Su/)'~Et:a:d:\:orn before me on} Jlll.Y 14,2008

 

 

 

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Case 1:07-cv-10639-LAK-AJP Al;];q§ti,[nqpt(j§SEd§l|lQ§b07/l8/2008 Page 14 of 18

 

UNlTED STATES DlS'l`RlCl` (_`OURT FILE NO.: U'gr(’llin
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Wll,l,lAM A. GR()SS (,`(')NSTRU(`T!()N ASS()C`IA'I`I{)NS_ IN(`. Plttintilf(h`)-PEtithrl€r(S}

_VS..

AMERI(_`AN MANUl-`At'l`l-'RERS MU!`UAL lNSl_lRAN(’E L`()MPANY
` Defendantts)-Respondent(s)

STATE OF NEW Y()RK}
COUNTY OF SCHENEC'I`ADY ss.}

l, Mark E. McClosky being duly sworn. deposes and says that deponent is over the age of eighteen years, is
not a party in this proceeding and resides in New York State.

On ltll_Y l-t.?.OGS at 2:25 P.M.

Dep()nent §erved a ime C()py Of SL'M}ION$!N 1 E'IVIL $(T\OF¢, FL:;!"H-FA.IT (`T}MIPLU’WT, NC\TI(`E OF(UNFFIY,'R`E~ lR`D!\'[Dl`AL F’RAF."IK'E OF MAClS'\’llAil' jl'[l]€ »\NDR.EZW J, PE{"!L l-_'LEC|“I(L)NI(`
~ ['ASE FI.LLNT, IL‘LBI¢ L\$T'KL'-(`T M

beating index numberl U7-C'V»l(}639and date of filing:

upon HER.ITAGE AIR SYSTEMS, INC.

at address: THE SECRETARY OF STA'I`E, 99 WASHINGTON AVENUE

City & State: ALBANY, NEW YORK 12210

MANNER OF SERVICE}_
PEKSQNAL
m By delivering to and leaving with personally}
known to the deponent to he the same person mentioned and described in the above proceeding as the person to be served.
SUmtBt£ AGE F£tesoN
By delivering and leaving with personally}
[:l at the premises which is recipient's actual place of business/usual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretionl
Atmro.'ttz£o Ar;tsvr
By delivering and leaving with} CAROL VOGT
§ the agent for service on the person in this proceeding designated under Rule306 BCL . Scrvice having been made to such
person at the place, date and time above.

 

At=tmaNc m Door_t, Erc.
By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.
Deponent was unable with due diligence to find the proper or authorized person to be servcd, or a person of suitable age and

g discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the
following dates and times:
mining
Deponent completed service by depositing a true copy of each in a postpaid, properly addressed envelope in an ofllcial depository
under the exclusive care and custody of the United States Postal Service. The package was labeled "Personal & Confidential”

and mailed to the person stated above at address
l:l on . The envelope did not indicate on the outside that the communication was from an attorney or concerned an action

against the recipient. The envelope was mailed by _____t"irst class mail __penihed mail registered mail_return receipt requested

Deponent further states upon information and belief that said person so served is not in the Military service
of the State of New York or the United States as the tenn is defined in either State or Federal statutes

D§§§;RIPTIONL deponent describes the person actually served as:

 

 

Sex:FEMALE Race/Sl<in Color; WHITE Hajr Color. BR()WN
Appro)tirnate Age: 54 years Appro)timate Height:$'~l" Approximate Weight: 125 pounds
Other:
Su ‘ ‘ribed and sworn before me on} JlJLY 14. 2008 f
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tom s aaa innsmtis.<ztz tamm it atm~.'n¢cisny l Mark E. McClosky
aim rubric state or wm von ct»nmiw¢m or omit Deponent
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l-lm¢>ltlyn. N`cw \"ork l llfll
affidavit numbcr: 2008| 1048

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Case 1:07-cv-10639-LAK-AJP AHQWWA§SER|§]MOWm/ZO% Page 15 of 18
Flt.,E NO.: llB-GOB'F
CASE No.: uvrc‘v. mesa n.mo

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UNlTEf)'STAl`B§ DlSTRlCT C.`OURT
SOUTHERN DISTRIC`T OF NEW YORK F|LED ON:

Wll.LIAM A, (]R()SS L`(JNS'I`RI Y£Vl'l()l\l ASS()(`IATI()NS. ll"\l(`. Plalttlill($)-PCtitiUtthiS)

..\’S..

AMZ'ERIC`AN MANUFA('I`URERS Mlll`llAL lNSliRAN(`lL (`{)MPANY x
Detendant(s)~Respondent{s)

STATE OF NEW YORK}
COUNTY OF SCHENECTADY ss.}

I, Mark E. McClosky being duly sworn, deposes and says that deponent is over the age of eighteen years, is
not a party in this proceeding and resides in New York State.

On .llll,Y l-l.ZOOB at 2225 P.M.

Dep(]nen[ Sewed a fmc C()py L]f (Sl;::¢;`):'ls`£::th:;;lll[l;:qk;:,¢l;::;:¢n?£l'ri t (¥MFLAl‘€`I`. NUTK_`£U}' L\)NF¥IE.‘\‘(`IL L\D{VIFR'AL FRA(rTi|'T} OF “AL:ISTRAY'E 11 IX}E »I.NDIILW 1, Ffl"|(_ [_[_L(“|'lg\n(`
bearing index numbcr: ll'/-CV< l063%nd date of filing:

upon FUTERE TECH CONSULTANTS OF NEW YORK, INC.

at addregs; THE SECRETARY ()F STATE, 99 WASHINGTON AVENUE

City & seller ALBANY, uaw vom< 12210

MANNER OF SERVlCE,i»
P£Rso~,tt
|:l By delivering to and leaving with personally}
known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served.
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By delivering and leaving with personally}
|:i at the premises which is recipient's actual place of businessfusual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him/her to be a suitable age and discretionl
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By delivering and leaving with} CAROL VOGT
E the agent for service on the person in this proceeding designated under Ru|e306 HCL . Service having been made to such
person al the place, date and time above,

dn~mNG m Dook tim
By affixing a true copy of each to the door of the actual place of business, dwelling place or usual place of abode stated above.

Deponent was unable with due diligence to find the proper or authorized person to be served, or a person of suitable age and
|:J discretion at the actual place of business, dwelling place or usual place of abode stated above after having called there on the

following dates and times:

 

mama
Deponent completed service by depositing a true copy of each in a postpaid. properly addressed envelope in an official depository
under the exclusive care and custody of the United States Postal Service. The package was labeled “Personal & Conlidenlial"

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against the recipient. 'l`he envelope was mailed by______lirst class mail certified mail ‘__registered mail_____return receipt requested

Deponent further states upon information and belief that said person so served is not in the Military service
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DE,S§ RIPTIOEE deponent describes the person actually served asi

s¢x;FEMALE trace/skin eaton wade nairc¢;>iér; sowa
ApproximateAge: 54 years Approximate lleight:5`4" Appro ima Weight: |25 pounds

Other:

 

Sp 'cribed and sworn before me on} JUI_Y t~t. 2008

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sam s ith summation nathan A hammond Mark [':` McClosky
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Brooklyn, New ‘r'ork l lZUl
affidavit number 2008110-19

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UNJTI€D_STATES DISTRICT (`OURT FILE NO_; 08¢6{)87
SOUTHERN DlSTRICi` C)F NEW YORK FlLED ON: CASE NO,: U'?-CV¢ 10639 tlAK)

Wlitl,lAM A. GR()SS CONS'I‘RIJ('I`!()N ASSO(`IA`I'IONS. IN(`, Plainlil`f($)¢l)e!llionefl$)

_\»S..

AMERIC`AN MANUFA(,'FURL£RS Mli'l`[lAl. lNSURAN(`E C`OMPANY w
Deiendant(s)*Respondent(s)

STATE OF NEW YORK}
(.`OUNTY ()F S(.`HENECTA DY ss.}

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On JULY 14,2()(}8 ar 2:25 P.M.

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beating index number m-CW~|OGB‘}¢Lnd date of filing:

upon S'I`ONEWALL CON'I`RACT]NG CORPORAT!ON

at addregg; THE SECRETARY OF STATE, 99 WASHINGTON AVENUE

Cily & Stale; ALBANY,NEW YORK 12210

MANNER OF SERVICE}
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known to the deponent to be the same person mentioned and described in the above proceeding as the person to be served
Strmtsc£ AGE PERSON
By delivering and leaving with personally}
m at the premises which is recipient’s actual place of businessfusual place of abode. Such person knowing the person to be served
and associated with him/her, and after conversing with him/her, deponent believes him!her to be a suitable age and diseretion.
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By delivering and leaving with} CAROL VOGT
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Deponent further states upon information and belief that said person so served is not in the Military service
of the State of New York or the United States as the term is defined in either State or Federal statutes

D§§§;RIE! lQN f deponent describes the person actually served as: }

Sex:Fl£MALE RacefSkin Color: WH|TE Hair Ct or: zl§ROWN

Approximate Age: 54 years Approximate Height: 5`4" Appro mate Weight: 125 pounds
Other:

Subscribed and sworn before me on} JUI_Y 14. 2008

 

 

 

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Case 1:07-cv-10639-LAK-AJP Document 43 Filed 07/18/2008 Page 17 of 18

NEW YORK STATE INSURANCE DEPARTMENT

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Case 1:07-cv-10639-LAK-AJP Document 43 Filed 07/18/2008 Page 18 of 18

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Sworn to before me. this / JGHN p SlNNOTT
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NEW YORK STATE INSURANCE DEPARTMENT

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